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                                                                              sK tO IN CLERK'S OFR R~ .'4
                                                                                ~. 8.~7.C .-AtZ antpa
1                    IN THE UNITED STATES DI STRICT COURT
                                                                                                            i
                     FOR THE NORTHEN DISTRICT OF GEORGIA                           MAY ] I
2                                                                                                           i
                               ATLANTA DIVI SION
                                                                               LUTHERW HCsMAS, Clerk
3
                                                                               $y : Deputy k            i
4
  ` TONY L. WARE, CEO and
5 T. L. WARE BOTTLING CO ., INC .,

6
                   Plaintiffs,
7          vs.                                  } CIVIL ACTION FILE NUMBER:
                                                ] 1 : 0 5 - C V - 0 4 2 6 - M H S
 8
     FLEETBOSTO N FI NANCIAL CORP.
 9   FIK/A BANKBOSTO N CO RP.                     MICHAEL R. JOHNSON , SR, DELARATION

10
                   Defend a nt.                       FILED IN SUPPORT OF MOTON
11
     DECLARATION OF MICHAEL R. JOHNSON, SR. ATTORNEY
12
         FOR PLAINTIFF T.L. WARE BOTTLING CO., INC.
13
              MICHAEL R. JOHNSON , Sr., Attorney for the Plaintiff T. L. WARE
14
     BOTTLING COMPANY, INC., in the above-styled action in deposes, states and
15
     make the declarations pursuant to 28 U . S. C. § 1746 as follows:
16
            1 . That my name is MICHAEL R. JOHNSON , SR ., and that f am over the age
17   of the legal majority and is competent to make these declarations . I further state that
18   all statements made in this declaration are made on my personal knowledge,

19   information and belief . I am qualified as an attorney at law to give legal advice to the
     Plaintiff in this civil action .
20
             2. On February 7t h , 2005 I instructed Plaintiff Tony L . Ware who is also my law
21
     clerk to present our proposed Order and Motion to Set Aside the order of February
22   2nd 2005 before Presiding Judge Jerry W . Baxter . We prepared a consent order for
23   the Plaintiffs in this action only . Nor 1 or my law clerk who is also the Plaintiff Tony L .
     Ware did personally talk with Judge Baxter or personally told him that our consent
24
     order was singed by or consented to by the Defendant FleetBoston Financial
25
     Corporation flkla BankBoston a Rhode Island corporation .


                                                Page 1
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 7         4. f have been a Federal and State prosecutor and I have never presented any
     improper orders to a Judge for their signature . In fact our law firm always sends a
 2
     cover letter attached to our motion and proposed order . See, Exh i bit "A" attached
 3
     hereto . The Affidavit of Judge Baxter is the product of an illegal Ex pane
 4
     communication by FleetBoston of Delaware's attorneys while this case was pending
 5   removal to this Court a clear violation of Un iform Sup erior Court Rules, Rule 4.1

 6          5. At the time Judge Baxter gave his affidavit, the Plaintiff and I were unaware
     of any communications by FleetBoston's Attorneys and their acts of improperly
 7
     drafting an affidavit for Judge Baxter to sign . Thus such affidavit must be stricken as
 8
     improper evidence and cannot be considered as a matter of law pursuant to the
 9   Unifo rm Superior Cou rt Rul es, Rule 4. 1 .   Rule 4 .1 reads as follows :
10                       "Except as authorized by law or by rule, judges
                   shall neither initiate nor consider ex pane
11                 communications by interested parties or their attorneys
                   concerning a pending or impending proceeding ."
12
         6. In all my years as an attorney I have never heard of a Judge claiming that he or
13
     she did not know what they were singing or did not read an order submitted to them
14
     for singing . Clearly Judge Baxter did understand and read the order he signed .
15   Because of Judge Baxter prohibited ex pane communications with the Attorneys of
16   FleetBoston, this Court must not consider his affidavit as a matter of Federal Law .
     FleetBoston Financial of Delaware lacks standing in this case and has no right to ask
17
     this Court to set aside a perfectly legal and binding order of the Superior Court of
18
     Fulton County. See, Huntter v. Geroge, 265 Ga. 573, 458 SE2d 830 ( 1995 ) .
19       7 . The February 7th, 2005 Order clearly shows only the Plaintiffs consented .
20   There are no errors in this order . However, even if it were true that the Plaintiffs and
     made a representation to the Court that all parties had consented to the February 7''',
21
     2005 Order, such representation would still be true and correct because Defendant's
22
     implied consent was given due to its default in this action . See, O . C . G . A. § 9-11-5(a)
23   (a Defendant waives all notices of the issuing of any orders in the action while being
24   in default) . Furthermore, if any error was made by Judge Baxter in singing the Order

25   of February 7th, 2005 such error would be deemed a "Harmless Error."



                                               Page 2
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  1        See, O. C . G .A. § 9-11-61 which reads as follows :
              "No error in either the admission or the exclusion of evidence and no
 2
       error or defect in any ruling or order or in anything done or omitted by the court
  3    or by any of the parties is ground for granting a new trial or for the setting aside
       a verdict or for vacating, modifying, or otherwise disturbing a judgment or
 4     order, unless refusal to take such action appears to the court inconsistent with
       substantial justice . The court at every stage of the proceeding must disregard
  5    any error or defect in the proceeding which does not affect the substantial
       rights of the parties ."
  6
              8 . 1t is clear from the record that the Plaint iffs brought their action against
  7
       Defendant FleetBoston Financial Corporation flklal BankBoston Corporation a Rhode
  8
       Island corporation and did not name FleetBoston Financial Corporation of Delaware a
       dissolved corporation which has improperly removed this action .
10            9. The unlawful use of the same corporate name " FLEEBOSTON FINANCIAL
       CORPORATION" in the State of Georgia, mislead me, the Plaintiffs, public and the
1 '{
       trial Court in an attempt to defeat Plaintiffs cla ims and to evade Service of Process .
12
              10. It was both Defendant FleetBoston of Rhode Island and FleetBoston of
13     Delaware own fault by committing fraud in the use of this corporate name .
14            11 . These corporations were both grossly negligent in causing Defendant

15     FleetBoston Financial Corporation flklal BankBoston Corporation of Rhode island to
       received a Default judgment against it . FleetBostion of Delaware cannot now come
16
       into a court of equity with unclean hands and seek the protection of this Court . See,
17
       O . C. G. A. § 23 -2- 56 which reads as follows :
18             "Fraud may be consummated by signs or tricks, or through agents

1 9 I employed to deceive, or by any other unfair way used to cheat another.
               12. I MICHAEL R . JOHNSON, ATTORNEY for the Pla intiff T . L . Ware Bottling
20
       Company, Inc ., declare under penalty of perjury that the foregoing is true and correct .
21
              Thi s      , t l~          day                of         2005 .
22
                                      Respectfully Su mitted ,
23

24
                                      9iJ/,         R. JOHNSON , SR., Affiant
25



                                                   Page 3
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  Case 1:05-cv-00426-MHS Document 21-2 Filed 05/11/05 Page 5 of 6


                     Johnson & Associates, P.C.
                                    Attorneys at Law
                     340 West Peachtree Street, N. W., Suits 200
                              Atlanta, Georgia 30308
                           Telephone: (404) 688.7ifil0
                                Fax: (404) 68&7140



VIA-HAND DELIVERY

February 7th, 2005

Honorable Jerry W. Baxter
Presiding Judge
Superior Court of Futon County
185 Central Avenue , S. W.
Atlanta , Georgia 30303

       Reference :



Dear Judge Baxter :

       The parties Plaintiffs in the above-entitled civil action has consented to the
entry of the consent order attached to this letter in this uncontested matter by
submitting their joint Motion to Set Aside the Court Order .

       Pursuant to the Local Procedures of the Atlanta Judicial Circu it (AJC) Rule
110(a)(h) the Presiding Judge can enter any consent order in any uncontested
matter pending in this Court. Our request to enter a consent order should be
submitted to the Presiding Judge of the week pursuant to the Local Rules .

       Please sign and enter our consent order so that we can file it with the
Court or else you can file the same and send the parties a copy of the order at
their address of record on the enclosed final judgment attached to th is letter .
Thank you for your time concerning this matter .

      Re c Ily u i d,

       M
      'Michael R. Johnson, Sr.
       Attorney for the Plaintiff
       Georgia Bar No . 395056

MJ/tw
cc: Tony L . Ware, PhD, JD
Enclosure: Order
          Case 1:05-cv-00426-MHS Document 21-2 Filed 05/11/05 Page 6 of 6



                                                                                                       I
                                                               rKtU IN CLERKS OFRQ
 1                      IN THE UN ITED STA TES DIST RICT CO URT ~ . S •D .C .-Atlanta
                       FO R TH E NORTH EN DISTRICT OF GE ORGI A
 2                                                                 SAY 11 2005
                                   ATLANTA DIVISION
 3

 4
                                                                          By;   .~~~
                                                                          LUTHER G . ki~7 iAS, Clerk

                                                                                 Deputy lerk
   I TONY L. WARE, CEO and
 5 j T. L. WARE BOTTLING CO., INC
                              .,             }

 6
                     Plaintiffs,
 7           vs.                                 CIVIL ACTI ON FILE NUMB ER:

 8
      FLEETBOSTON FI NANCI AL CORP.              1 : 05-CV-0426- MH S
 9    F/K/A BANKBO STON CO RP.
                                                     CE RTI FICATE O F S ERVICE
10
                     Defendant.
11
      ~              CER TIFICATE OF SE RVICE
112
             COMES NOW, MICHAEL R. JOHNSON , SR., Attorney for the Plaintiff
13
      T .L. Ware Bottling Company, Inc ., with the consent of Plaintiff Tony L . Ware and
14
      certify that I have served FleetBoston Financial Corporation of Delaware with a
15
      copies of Plaintiffs' REVISED MOTION TO DISMISS AND REMAND,
16    MEMERANDUM OF LAW and other documents filed by the Plaintiffs in this action on

17    the following person :
                                   Mr. William J . Holley, Esq .
18
                      285 Peachtree Center Acre, N .E., 1500 Marquis Tower
19                                ATLANTA, GEORGIA 30303
             Th is       Z i! A        day of           < -02005.
20
                                       Respectfu V Subm itted,
21

22

23                                     Michael R . Johnson , Sr.
                                       Attorneys for the Plai ntiff
24
                                       G eorg ia B ar No. 395056
25




                                            Page 5
